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American Economic Association



The Cost of Capital, Corporation Finance and the Theory of Investment
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           THE COST OF CAPITAL, CORPORATION FINANCE
                AND THE THEORY OF INVESTMIENT
                    By FRANCO      MODIGLIAN1       AND MERTON        H.   MILLER*




        What is the "cost of capital" to a firm in a world in which funds are
     used to acquire assets whose yields are uncertain; and in which capital
     can be obtained by many different media, ranging from pure debt instru-
     ments, representing money-fixed claims, to pure equity issues, giving
     holders only the right to a pro-rata share in the uncertain venture.?
     This question has vexed at least three classes of economists: (1) the cor-
     poration finance specialist concerned with the techniques of financing
     firms so as to ensure their survival and growth; (2) the managerial
     economist concerned with capital budgeting; and (3) the economic
     theorist concerned with explaining investment behavior at both the
     micro and macro levels.'
        In much of his formal analysis, the economic theorist at least has
     tended to side-step the essence of this cost-of-capital problem by pro-
     ceeding as though physical assets-like bonds-could be regarded as
     yielding known, sure streams. Given this assumption, the theorist has
     concluded that the cost of capital to the owners of a firm is simply the
     rate of interest on bonds; and has derived the familiar proposition that
     the firm, acting rationally, will tend to push investmnent to the point
       * The authors are, respectively, professor and associate professor of economics in the Grad-
     uate School of Industrial Administration, Carnegie Institute of Technology. This article is a
     revised version of a paper delivered at the annual meeting of the Econometric Society, Decem-
     ber 1956. The authors express thanks for the comments and suggestions made at that time
     by the discussants of the paper, Evsey Domar, Robert Eisner and John Lintner, and subse-
     quently by J'ames Duesenberry. They are also greatly indebted to many of their present and
     former colleagues and students at Carnegie Tech who served so often and with such remark-
     able patience as a critical forum for the ideas here presented.
       1 The literature bearing on the cost-of-capital problem is far too extensive for listing here.
     Numerous references to it will be found throughout the paper though we make no claim to
     completeness. One phase of the problem which we do not consider explicitly, but which has a
     considerable literature of its own is the relation between the cost of capital and public utility
     rates. For a recent summary of the "cost-of-capital theory" of rate regulation and a brief dis-
     cussion of some of its implications, the reader may refer to H. M. Somers [201.
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     where the marginal yield on physical assets is equal to the market rate
     of interest.2This proposition can be shown to follow from either of two
     criteria of rational decision-makingwhich are equivalent under certain-
     ty, namely (1) the maximization of profits and (2) the maximization of
     market value.
        According to the first criterion, a physical asset is worth acquiring if
     it will increase the net profit of the owners of the firm. But net profit
     will increase only if the expected rate of return, or yield, of the asset
     exceeds the rate of interest. According to the second criterion, an asset
     is worth acquiring if it increases the value of the owners' equity, i.e., if
     it adds more to the market value of the firm than the costs of acquisi-
     tion. But what the asset adds is given by capitalizing the stream it gen-
     erates at the market rate of interest, and this capitalized value will
     exceed its cost if and only if the yield of the asset exceeds the rate of
     interest. Note that, under either formulation, the cost of capital is equal
     to the rate of interest on bonds, regardless of whether the funds are
     acquired through debt instruments or through new issues of common
     stock. Indeed, in a world of sure returns, the distinction between debt
     and equity funds reduces largely to one of terminology.
        It must be acknowledged that some attempt is usually made in this
     type of analysis to allow for the existence of uncertainty. This attempt
     typically takes the form of superimposingon the results of the certainty
     analysis the notion of a "risk discount" to be subtracted from the ex-
    pected yield (or a "risk premium" to be added to the market rate of
    interest). Investment decisions are then supposed to be based on a com-
    parison of this "risk adjusted" or "certainty equivalent" yield with the
    market rate of interest.3 No satisfactory explanation has yet been pro-
    vided, however, as to what determines the size of the risk discount and
    how it varies in response to changes in other variables.
        Considered as a convenient approximation, the model of the firm
    constructed via this certainty-or certainty-equivalent-approach has
    admittedly been useful in dealing with some of the grosser aspects of
    the processes of capital accumulation and economic fluctuations. Such
    a model underlies,for example, the familiar Keynesian aggregate invest-
    ment function in which aggregate investment is written as a function of
    the rate of interest-the same riskless rate of interest which appears
    later in the system in the liquidity-preferenceequation. Yet few would
    maintain that this approximation is adequate. At the macroeconomic
    level there are ample grounds for doubting that the rate of interest has
      2 Or, more accurately, to the marginal cost of borrowed funds since it is customary, at least

    in advanced analysis, to draw the supply curve of borrowed funds to the firm as a rising one.
    For an advanced treatment of the certainty case, see F. and V. Lutz [131.
       a The classic examples of the certainty-equivalent approach are found in J. R. Hicks [8] and
    0. Lange [11].
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    as large and as direct an influence on the rate of investment as this
    analysis would lead us to believe. At the microeconomiclevel the cer-
    tainty model has little descriptive value and provides no real guidance
    to the finance specialist or managerial economist whose main problems
    cannot be treated in a frameworkwhich deals so cavalierly with uncer-
    tainty and ignores all forms of financing other than debt issues.4
       Only recently have economists begun to face up seriously to the prob-
    lem of the cost of capital cum risk. In the process they have found their
    interests and endeavors merging with those of the finance specialist and
    the managerial economist who have lived with the problem longer and
    more intimately. In this joint search to establish the principles which
    govern rational investment and financial policy in a world of uncer-
    tainty two main lines of attack can be discerned. These lines represent,
    in effect, attempts to extrapolate to the world of uncertainty each of the
    two criteria-profit maximization and market value maximization-
    which were seen to have equivalent implications in the special case of
    certainty. With the recognitionof uncertainty this equivalence vanishes.
    In fact, the profit maximization criterion is no longer even well defined.
    Under uncertainty there correspondsto each decision of the firm not a
    unique profit outcome, but a plurality of mutually exclusive outcomes
    which can at best be described by a subjective probability distribution.
    The profit outcome, in short, has become a random variable and as such
    its maximization no longer has an operational meaning. Nor can this
     difficulty generally be disposed of by using the mathematical expecta-
     tion of profits as the variable to be maximized. For decisions which
    affect the expected value will also tend to affect the dispersionand other
     characteristicsof the distribution of outcomes. In particular, the use of
     debt rather than equity funds to finance a given venture may well in-
     crease the expected return to the owners, but only at the cost of in-
     creased dispersionof the outcomes.
        Under these conditions the profit outcomes of alternative investment
     and financing decisions can be compared and ranked only in terms of a
     subjective"utility function" of the owners which weighs the expected
     yield against other characteristics of the distribution. Accordingly, the
     extrapolationof the profit maximization criterionof the certainty model
     has tended to evolve into utility maximization, sometimes explicitly,
     more frequently in a qualitative and heuristic form.5
        The utility approach undoubtedly represents an advance over the
     certainty or certainty-equivalent approach. It does at least permit us
       4 Those who have taken a "case-method"couirsein financein recentyearswill recallin this
     connectionthe famousLiquigascase of Hunt and Williams, 19,pp. 193-961a case which is
     often used to introducethe studentto the cost-of-capitalproblemand to poke a bit of fun at
     the economist'scertainty-model.
       6 For an attempt at a rigorousexplicitdevelopmentof this line of attack, see F. Modigliani
     and M. Zeman[141.
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     to explore (within limits) some of the implications of different financing
     arrangements,and it does give some meaning to the "cost" of different
     types of funds. However, because the cost of capital has become an
     essentially subjective concept, the utility approach has serious draw-
     backs for normative as well as analytical purposes. How, for example,
     is management to ascertain the risk preferencesof its stockholders and
     to compromiseamong their tastes? And how can the economist build a
     meaningful investment function in the face of the fact that any given
     investment opportunity might or might not be worth exploiting depend-
     ing on precisely who happen to be the owners of the firm at the moment?
        Fortunately, these questions do not have to be answered;for the alter-
     native approach, based on market value maximization, can provide the
     basis for an operational definition of the cost of capital and a workable
     theory of investment. Under this approach any investment project and
     its concomitant financing plan must pass only the following test: Will
     the project, as financed, raise the market value of the firm's shares? If
     so, it is worth undertaking; if not, its return is less than the marginal
     cost of capital to the firm. Note that such a test is entirely independent
     of the tastes of the current owners, since market prices will reflect not
     only their preferences but those of all potential owners as well. If any
     current stockholder disagrees with management and the market over
     the valuation of the project, he is free to sell out and reinvest elsewhere,
     but will still benefit from the capital appreciation resulting from man-
     agement's decision.
        The potential advantages of the market-value approach have long
     been appreciated; yet analytical results have been meager. What ap-
     pears to be keeping this line of development from achieving its promise
     is largely the lack of an adequate theory of the effect of financial struc-
     ture on market valuations, and of how these effects can be inferred from
     objective market data. It is with the development of such a theory and
     of its implications for the cost-of-capital problem that we shall be con-
     cerned in this paper.
        Our procedure will be to develop in Section I the basic theory itself
     and to give some brief account of its empirical relevance. In Section II,
     we show how the theory can be used to answer the cost-of-capital ques-
     tion and how it permits us to develop a theory of investment of the
     firm under conditions of uncertainty. Throughout these sections the
     approach is essentially a partial-equilibriumone focusing on the firm
     and "industry." Accordingly, the "prices" of certain income streams
     will be treated as constant and given from outside the model, just as in
     the standard Marshallian analysis of the firm and industry the prices of
     all inputs and of all other products are taken as given. We have chosen
     to focus at this level rather than on the economy as a whole because it
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     is at the level of the firm and the industry that the interests of the vari-
     ous specialists concerned with the cost-of-capital problem come most
     closely together. Although the emphasis has thus been placed on partial-
     equilibrium analysis, the results obtained also provide the essential
     building blocks for a general equilibriummodel which shows how those
     prices which are here taken as given, are themselves determined. For
     reasons of space, however, and because the material is of interest in its
     own right, the presentation of the general equilibrium model which
     roundsout the analysis must be deferredto a subsequent paper.

          I. TiheValuationof Securities, Leverage,and tiheCost of Capital
     A. T'heCapitalizationRatefor UncertainStreams
        As a starting point, consider an economy in which all physical assets
     are owned by corporations.For the moment, assume that these corpora-
     tions can finance their assets by issuing common stock only; the intro-
     duction of bond issues, or their equivalent, as a source of corporatefunds
     is postponed until the next part of this section.
        The physical assets held by each firm will yield to the owners of the
     firm-its stockholders-a stream of "profits" over time; but the ele-
     ments of this series need not be constant and in any event are uncertain.
     This stream of income, and hence the stream accruing to any share of
     common stock, will be regardedas extending indefinitely into the future.
     WTeassume, however, that the mean value of the stream over time, or
     average profit per unit of time, is finite and represents a random vari-
     able subject to a (subjective) probability distribution. We shall refer to
     the average value over time of the stream accruing to a given share as
     the return of that share; and to the mathematical expectation of this
     average as the expected return of the share.6Although individual inves-
     tors may have different views as to the shape of the probability distri
      6 Thesepropositionscan be restatedanalyticallyas follows:The assetsof the ith firmgener-
    ate a stream:
                                     Xi (I), Xi (2) ...    Xi (T)
     whoseelementsare randomvariablessubject to the joint probabilitydistribution:
                         Xi[Xi(1), Xi (2) .. *X\i (t)J.
     The returnto the ith firmis definedas:
                                                   liT
                                      Xi-=    lim -        Xsit).
                                              7--co T t=

    Xi is itself a randomvariablewith a probabilitydistributiondiW(Xi)
                                                                    whoseformis determined
    uniquelyby Xi. The expectedreturnXi is definedas Xi=E(Xi) =fxXib(X,)dX;. If Ni is
    the numberof sharesoutstanding,the returnof the ith shareis xi= (1/N)X; with probability
    distributionOi(xi)dx1=4i(Nxi)d(Nxi)and expectedvalue 9i=(1/N)X,.
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    bution of the return of any share, we shall assume for simplicity that
    they are at least in agreement as to the expected return.7
       This way of characterizing uncertain streams merits brief comment.
    Notice first that the stream is a stream of profits, not dividends. As will
    become clear later, as long as management is presumed to be acting in
    the best interests of the stockholders, retained earnings can be regarded
    as equivalent to a fully subscribed, pre-emptive issue of common stock.
    Hence, for present purposes, the division of the stream between cash
    dividends and retained earnings in any period is a mere detail. Notice
    also that the uncertainty attaches to the mean value over time of the
    stream of profits and should not be confused with variability over time
    of the successive elements of the stream. That variability and uncer-
    tainty are two totally different concepts should be clear from the fact
    that the elements of a stream can be variable even though known with
    certainty. It can be shown, furthermore,that whether the elements of a
    stream are sure or uncertain, the effect of variability per se on the valua-
    tion of the stream is at best a second-orderone which can safely be neg-
    lected for our purposes (and indeed most others too).8
       The next assumption plays a strategic role in the rest of the analysis.
    We shall assume that firms can be divided into "equivalent return"
    classes such that the return on the shares issued by any firm in any
    given class is proportional to (and hence perfectly correlated with) the
    return on the shares issued by any other firm in the same class. This
    assumption implies that the various shares within the same class differ,
    at most, by a "scale factor." Accordingly, if we adjust for the difference
    in scale, by taking the ratio of the return to the expected return, the
    probability distribution of that ratio is identical for all shares in the
     class. It follows that all relevant properties of a share are uniquely char-
     acterized by specifying (1) the class to which it belongs and (2) its
     expected return.
       The significance of this assumption is that it permits us to classify
    firmsinto groups within which the shares of differentfirmsare "homoge-
    neous," that is, perfect substitutes for one another. We have, thus, an
     analogue to the familiar concept of the industry in which it is the com-
     modity produced by the firms that is taken as homogeneous. To com-
    plete this analogy with Marshallianprice theory, we shall assume in the
       7To deal adequately with refinements such as differences among investors in estimates of
     expected returns would require extensive discussion of the theory of portfolio selection. Brief
     references to these and related topics will be made in the succeeding article on the general
     equilibrium model.
       8 The reader may convince himself of this by asking how much he would be willing to rebate

     to his employer for the privilege of receiving his annual salary in equal monthly installments
     rather than in irregular amounts over the year. See also J. M. Keynes [10, esp. pp. 53-541.
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     analysis to follow that the shares concerned are traded in perfect mar-
     kets under conditions of atomistic competition.9
        From our definition of homogeneous classes of stock it follows that
     in equilibriumin a perfect capital market the price per dollar's worth of
     expected return must be the same for all shares of any given class. Or,
     equivalently, in any given class the price of every share must be propor-
     tional to its expected return. Let us denote this factor of proportionality
     for any class, say the kth class, by l/Pk. Then if pi denotes the price and
     sj is the expected return per share of the jth firm in class k, we must
     have:
     (1)                                       pj =-xj;
                                                       Pk
     or, equivalently,
     (2)                       =   Pk a constant for all firmsj in class k.

                          pi
        The constants Pk (one for each of the k classes) can be given several
     economic interpretations: (a) From (2) we see that each Pk iS the ex-
     pected rate of return of any share in class k. (b) From (1) l/Pk is the
     price which an investor has to pay for a dollar's worth of expected re-
     turn in the class k. (c) Again from (1), by analogy with the terminology
     for perpetual bonds, Pk can be regardedas the market rate of capitaliza-
     tion for the expected value of the uncertain streams of the kind gen-
     erated by the kth class of firms.10
     B. DebtFinancing and Its Effects on Security Prices
       Having developed an apparatus for dealing with uncertain streams
     we can now approach the heart of the cost-of-capital problem by drop-
     ping the assumption that firms cannot issue bonds. The introduction of
     debt-financing changes the market for shares in a very fundamental
     way. Because firms may have differentproportionsof debt in their capi-
        9 Just what our classes of stocks contain and how the different classes can be identified by
     outside observers are empirical questions to which we shall return later. For the present, it is
     sufficient to observe: (1) Our concept of a class, while not identical to that of the industry is
     at least closely related to it. Certainly the basic characteristics of the probability distributions
     of the returns on assets will depend to a significant extent on the product sold and the tech-
     nology used. (2) What are the appropriate class boundaries will depend on the particular prob-
     lem being studied. An economist concerned with general tendencies in the market, for example,
     might well be prepared to work with far wider classes than would be appropriate for an inves-
     tor planning his portfolio, or a firm planning its financial strategy.
        10We cannot, on the basis of the assumptions so far, make any statements about the rela-
     tionship or spread between the various p's or capitalization rates. Before we could do so we
     would have to make further specific assumptions about the way investors believe the proba-
     bility distributions vary from class to class, as well as assumptions about investors' preferences
     as between the characteristics of different distributions.
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     tal structure, shares of different companies, even in the same class, can
     give rise to different probability distributions of returns. In the language
     of finance, the shares will be subject to different degrees of filancial risk
     or "leverage" and hence they will no longer be perfect substitutes for
     one another.
        To exhibit the mechanism determining the relative prices of shares
     under these conditions, we make the following two assumptions about
     the nature of bonds and the bond market, though they are actually
     stronger than is necessary and will be relaxed later: (1) All bonds (in-
     cluding any debts issued by households for the purpose of carrying
     shares) are assumed to yield a constant income per unit of time, and
     this income is regarded as certain by all traders regardless of the issuer.
     (2) Bonds, like stocks, are traded in a perfect market, where the term
     perfect is to be taken in its usual sense as implying that any two com-
     modities which are perfect substitutes for each other must sell, in equi-
     librium, at the same price. It follows from assumption (1) that all bonds
     are in fact perfect substitutes up to a scale factor. It follows from as-
     sumption (2) that they must all sell at the same price per dollar's worth
     of return, or what amounts to the same thing must yield the same rate
     of return. This rate of return will be denoted by r and referred to as the
     rate of interest or, equivalently, as the capitalization rate for sure
     streams. We now can derive the following two basic propositions with
     respect to the valuation of securities in companies with different capital
     structures:
        Proposition I. Consider any company j and let Xi stand as before for
     the expected return on the assets owned by the company (that is, its
     expected profit before deduction of interest). Denote by Di the market
     value of the debts of the company; by Sj the market value of its com-
     mon shares; and by Vj=Sj+Dj the market value of all its securities or,
     as we shall say, the market value of the firm. Then, our Proposition I
     asserts that we must have in equilibrium:
     (3)          Vi    (Sj + Dj) =     Xjl/pk,   for any firm j in class k.

     That is, the market value of any firm is indepezdentt of its capital structure
     and is given by capitalizinzg its expected return at the rate Pk appropriate to
     its class.
        This proposition can be stated in an equivalent way in terms of the
     firm's "average cost of capital," Xj/Vj, which is the ratio of its expected
     return to the market value of all its securities. Our proposition then is:
                       xj         Xj
     (4)                      -        = Pk, for any firm j, in class k.
                    Va+ Di)
                  (Sj
     That is, thecaverage cost of capital, to any firm 'IScomipletelyindependent of
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     its capital structureand is equal to the capitalizationrate of a pure equity
     streamof its class.
        To establish Proposition I we will show that as long as the relations
     (3) or (4) do not hold between any pair of firms in a class, arbitrage will
     take place and restore the stated equalities. We use the term arbitrage
     advisedly. For if Proposition I did not hold, an investor could buy and
     sell stocks and bonds in such a way as to exchange one income stream
     for another stream, identical in all relevant respects but selling at a
     lowerprice. The exchange would thereforebe advantageous to the inves-
     tor quite independently of his attitudes toward risk.1' As investors
     exploit these arbitrage opportunities, the value of the overpriced shares
     will fall and that of the underpricedshares will rise, thereby tending to
     eliminate the discrepancybetween the market values of the firms.
        By way of proof, consider two firms in the same class and assume for
     simplicity only, that the expected return, X, is the same for both firms.
     Let company 1 be financed entirely with common stock while company
     2 has some debt in its capital structure. Suppose first the value of the
     levered firm, V2, to be larger than that of the unlevered one, Vi. Con-
     sider an investor holding S2dollars' worth of the shares of company 2,
     representinga fraction a of the total outstanding stock, S2. The return
     from this portfolio, denoted by Y2, will be a fraction ac of the income
     available for the stockholdersof company 2, which is equal to the total
     return X2 less the interest charge, rD2. Since under our assumption of
     homogeneity, the anticipated total return of company 2, X2, is, under
     all circumstances,the same as the anticipated total return to company
     1, XI, we can hereafter replace X2 and Xi by a common symbol X.
     Hence, the return from the initial portfolio can be written as:
     (5)                                 Y2-     a(X -     rD2).

     Now suppose the investor sold his aS2 worth of company 2 shares and
     acquired instead an amount Sl= a(S2+D2) of the shares of company 1.
     He could do so by utilizing the amount aS2 realized from the sale of his
     initial holding and borrowing an additional amount aD2 on his own
     credit, pledging his new holdings in company 1 as a collateral. He would
     thus secure for himself a fraction sl/S = a(S2+?D2)/S, of the shares and
     earnings of company 1. Making proper allowance for the interest pay-
     ments on his personal debt aD2, the return from the new portfolio, Y1,is
     given by:
       11In the language of the theory of choice, the exchanges are movements from inefficient
     points in the interior to efficient points on the boundary of the investor's opportunity set; and
     not movements between efficient points along the boundary. Hence for this part of the analysis
     nothing is involved in the way of specific assumptions about investor attitudes or behavior
     other than that investors behave consistently and prefer more income to less income, ceteris
     paribus.
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        (6)              cx~(S2
                          -   + D2)                 V2
      (6)            Y, = t(S2       X - raD2 = a - X - raD2.
                              Si                    V1
      Comparing (5) with (6) we see that as long as V2> V1 we must have
      Y1> Y2,so that it pays owners of company 2's shares to sell their hold-
      ings, thereby depressingS2 and hence V2; and to acquire shares of com-
      pany 1, thereby raising Si and thus V1. We conclude therefore that
      levered companies cannot command a premium over unlevered com-
      panies because investors have the opportunity of putting the equivalent
      leverage into their portfolio directly by borrowingon personal account.
         Considernow the other possibility, namely that the market value of
      the levered company V2 is less than V1. Suppose an investor holds ini-
      tially an amount s1 of shares of company 1, representinga fraction cxof
      the total outstanding stock, Si. His return from this holding is-
                                                     Si
                                        Y       -S        X = agx.
                                        Si
      Suppose he were to exchange this initial holding for another portfolio,
      also worth s1, but consisting of S2dollars of stock of company 2 and of
      d dollars of bonds, where s2 and d are given by:
                                           S2                   D2
      (7)                           S2=-        1,          d =-s.
                                           V2                    V2
      In other words the new portfolio is to consist of stock of company 2 and
      of bonds in the proportions S2/V2 and D2/V2, respectively. The return
      from the stock in the new portfolio will be a fraction S2/S2 of the total
      return to stockholdersof company 2, which is (X- rD2), and the return
      from the bonds will be rd. Making use of (7), the total return from the
      portfolio, Y2, can be expressed as follows:
              S2                                                      D2        s1          S
        Y2=   -    (X -       rD2) + rd = -      (X - rD2)      + r V-S    =-        X =    -    X
              S2                            V2                        V2        V2          V2

      (since si = aSi). Comparing Y2 with Yi we see that, if V2<SI                         V1, then
      Y2 will exceed Y1. Hence it pays the holders of company l's shares to
      sell these holdings and replace them with a mixed portfolio containing
      an appropriatefraction of the shares of company 2.
        The acquisition of a mixed portfolio of stock of a levered company j
      and of bonds in the proportion Sj/Vj and D1/Vj respectively, may be
      regardedas an operation which "undoes" the leverage, giving access to
      an appropriatefraction of the unlevered return Xj. It is this possibility
      of undoing leverage which prevents the value of levered firms from be-
      ing consistently less than those of unlevered firms, or more generally
      prevents the average cost of capital jl/Vj from being systematically
      higher for levered than for nonlevered companies in the same class.
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     Since we have already shown that arbitrage will also prevent V2 from
     being larger than VI, we can conclude that in equilibriumwe must have
     V2= VI, as stated in Proposition I.
        PropositionII. From Proposition I we can derive the following propo-
     sition concerning the rate of return on common stock in companies
     whose capital structure includes some debt: the expected rate of return
     or yield, i, on the stock of any companyj belonging to the kth class is a
     linear function of leverage as follows:
      (8)                               =   pk + (Pk - r) DJ/Sj.
     That is, the expectedyield of a share of stock is equal to the appropriate
     capitalizationratepkfor a pure equitystreamin the class, plus a premium
     relatedto financial risk equal to the debt-to-equityratio times the spread
     betweenpk and r. Or equivalently, the market price of any share of stock
     is given by capitalizing its expected return at the continuously variable
     rate ij of (8).12
        A number of writers have stated close equivalents of our Proposition
     I although by appealing to intuition rather than by attempting a proof
     and only to insist immediately that the results were not applicableto the
     actual capital markets.'3Proposition II, however, so far as we have been
     able to discover is new.14To establish it we first note that, by definition,
     the expected rate of return, i, is given by:
                                                   Xi2-        rD.
      (9)ij                                                -
                                                          Si

     From Proposition I, equation (3), we know that:
                                         Xi =pk(Sj + Dj).
     Substituting in (9) and simplifying, we obtain equation (8).
       12 To illustrate, suppose X= 1000, D=4000, r= 5 per cent and
                                                                         pk= 10 per cent. These values
     imply that V= 10,000 and S= 6000 by virtue of Proposition I. The expected yield or rate of
     return per share is then:
                              1000 - 200                       4000
                                  6000                         6000      3
        's See, for example, J. B. Williams [21, esp. pp. 72-73]; David Durand [3]; and W. A.
     Morton [15]. None of these writers describe in any detail the mechanism which is supposed to
     keep the average cost of capital constant under changes in capital structure. They seem, how-
     ever, to be visualizing the equilibrating mechanism in terms of switches by investors between
     stocks and bonds as the yields of each get out of line with their "riskiness." This is an argu-
     ment quite different from the pure arbitrage mechanism underlying our proof, and the differ-
     ence is crucial. Regarding Proposition I as resting on investors' attitudes toward risk leads
     inevitably to a misunderstanding of many factors influencing relative yields such as, for ex-
     ample, limitations on the portfolio composition of financial institutions. See below, esp.
     Section I.D.
        14 Morton does make
                               reference to a linear yield function but only" .. for the sake of sim-
     plicity and because the particular function used makes no essential difference in my conclu-
     sions" [15, p. 443, note 21.
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     C. Some Qualificationsand Extensions of the Basic Propositions
        The methods and results developed so far can be extended in a num-
     ber of useful directions, of which we shall consider here only three: (1)
     allowing for a corporate profits tax under which interest payments are
     deductible; (2) recognizing the existence of a multiplicity of bonds and
     interest rates; and (3) acknowledging the presence of market imperfec-
     tions which might interfere with the process of arbitrage. The first two
     will be examined briefly in this section with some further attention
     given to the tax problem in Section II. Market imperfectionswill be dis-
     cussed in Part D of this section in the course of a comparisonof our re-
     sults with those of received doctrines in the field of finance.
        Effectsof thePresentMethodof Taxing Corporations.The deduction of
     interest in computing taxable corporate profits will prevent the arbi-
     trage process from making the value of all firms in a given class propor-
     tional to the expected returns generated by their physical assets. In-
     stead, it can be shown (by the same type of proof used for the original
     version of Proposition I) that the market values of firms in each class
     must be proportional in equilibrium to their expected return net of
     taxes (that is, to the sum of the interest paid and expected net stock-
     holder income). This means we must replace each Xi in the original ver-
     sions of Propositions I and II with a new variable Xj7 representing the
     total income net of taxes generated by the firm:
      (10)           XJr--(Xi         -    rDi)(1 - T) + rDi                7jT+   rDj,
     where fr-trepresents the expected net income accruing to the common
     stockholdersand r stands for the average rate of corporateincome tax.'5
        After making these substitutions, the propositions, when adjusted for
     taxes, continue to have the same form as their originals. That is, Propo-
     sition I becomes:
                                27

      (11)                       _=       Pk,   for any firm in class k,

     and Proposition II becomes

      (12)                                       rP   + (Pkr -   r) Dl,/S
                                          Si
     where Pkl is the capitalization rate for income net of taxes in class k.
       Although the form of the propositions is unaffected, certain interpre-
     tations must be changed. In particular, the after-tax capitalization rate
       15 For simplicity, we shall ignore throughout the tiny element of progression in our present
     corporate tax and treat r as a constant independent of (Xi-rD,).
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     PkTcan no longer be identified with the "average cost of capital" which
     iS Pk = XjVTIj. The difference between Pk and the "true" average cost of
     capital, as we shall see, is a matter of some relevance in connection with
     investment planning within the firm (Section II). For the description of
     market behavior, however, which is our immediate concern here, the dis-
     tinction is not essential. To simplify presentation, therefore, and to pre-
     serve continuity with the terminology in the standard literature we
     shall continue in this section tQ refer to Pk as the average cost of capital,
     though strictly speaking this identification is correct only in the absence
     of taxes.
        Effects of a Plurality of Bonds and Interest Rates. In existing capital
     markets we find not one, but a whole family of interest rates varying
     with maturity, with the technical provisions of the loan and, what is
     most relevant for present purposes, with the financial condition of the
     borrower.16Economic theory and market experience both suggest that
     the yields demanded by lenders tend to increase with the debt-equity
     ratio of the borrowing firm (or individual). If so, and if we can assume
     as a first approximation that this yield curve, r = r (D/S), whatever its
     precise form, is the same for all borrowers, then we can readily extend
     our propositions to the case of a rising supply curve for borrowed
     funds.'7
        Proposition I is actually unaffected in form and interpretation by the
     fact that the rate of interest may rise with leverage; while the average
     cost of borrowedfunds will tend to increase as debt rises, the average cost
     of funds from all sources will still be independent of leverage (apart
     from the tax effect). This conclusion follows directly from the ability of
     those who engage in arbitrage to undo the leverage in any financial
     structure by acquiring an appropriately mixed portfolio of bonds and
     stocks. Because of this ability, the ratio of earnings (before interest.
     charges) to market value--i.e., the average cost of capital from all
        16 We shall not consider here the extension of the analysis to encompass the time structure of

     interest rates. Although some of the problems posed by the time structure can be handled with-
     in our comparative statics framework, an adequate discussion would require a separate paper.
        17 We can also develop a theory of bond valuation along lines essentially parallel to those fol-

     lowvedfor the case of shares. We conjecture that the curve of bond yields as a function of lever-
     age will turn out to be a nonlinear one in contrast to the linear function of leverage developed
     for common shares. However, we would also expect that the rate of increase in the yield on
     new issues would not be substantial in practice. This relatively slow rise would reflect the fact
     that interest rate increases by themselves can never be completely satisfactory to creditors as
     compensation for their increased risk. Such increases may simply serve to raise r so high rela-
     tive to p that they become self-defeating by giving rise to a situation in which even norrmal
     fluctuations in earnings may force the company into bankruptcy. The difficulty of borrowing
     more, therefore, tends to show up in the usual case not so much in higher rates as in the form
     of increasingly stringent restrictions imposed on the company's management and finances by
     the creditors; and ultimately in a comnpleteinability to obtain new borrowed funds, at least
      from the instituitional investors who normally set the standar(dsin the market for bonds.
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     sources-must be the same for all firms in a given class."8In other words,
     the increased cost of borrowed funds as leverage increases will tend to
     be offset by a correspondingreduction in the yield of common stock.
     This seemingly paradoxical result will be examined more closely below
     in connection with Proposition II.
       A significant modification of Proposition I would be required only if
     the yield curve r=r(D/S) were different for different borrowers, as
     might happen if creditors had marked preferencesfor the securities of a
     particular class of debtors. If, for example, corporationsas a class were
     able to borrow at lower rates than individuals having equivalent per-
     sonal leverage, then the average cost of capital to corporations might
     fall slightly, as leverage increased over some range, in reflection of this
     differential.In evaluating this possibility, however, rememberthat the
     relevant interest rate for our arbitrage operators is the rate on brokers'
     loans and, historically, that rate has not been noticeably higher than
     representative corporate rates.19The operations of holding companies
     and investment trusts which can borrowon terms comparableto operat-
     ing companies represent still another force which could be expected to
     wipe out any marked or prolonged advantages from holding levered
     stocks.20
        Although Proposition I remains unaffected as long as the yield curve
     is the same for all borrowers,the relation between common stock yields
     and leverage will no longer be the strictly linear one given by the original
     Proposition II. If r increases with leverage, the yield i will still tend to
        18 One normally minor qualification might be noted. Once we relax the assumption that all

     bonds have certain yields, our arbitrage operator faces the danger of something comparable to
     "gambler's ruin." That is, there is always the possibility that an otherwise sound concern-
     one whose long-run expected income is greater than its interest liability-might be forced into
     liquidation as a result of a run of temporary losses. Since reorganization generally involves
     costs, and because the operation of the firm may be hampered during the period of reorganiza-
     tion with lasting unfavorable effects on earnings prospects, we might perhaps expect heavily
     levered companies to sell at a slight discount relative to less heavily indebted companies of the
     same class.
        19Under normal conditions, moreover, a substantial part of the arbitrage process could be
     expected to take the form, not of having the arbitrage operators go into debt on personal
     account to put the required leverage into their portfolios, but simply of having them reduce
     the amount of corporate bonds they already hold when they acquire underpriced unlevered
     stock. Margin requirements are also somewhat less of an obstacle to maintaining any desired
     degree of leverage in a portfolio than might be thought at first glance. Leverage could be
     largely restored in the face of higher margin requirements by switching to stocks having more
     leverage at the corporate level.
        20 An extreme form of inequality between borrowing and lending rates occurs, of course, in

     the case of preferred stocks, which can not be directly issued by individuals on personal
     account. Here again, however, we would expect that the operations of investment corporations
     plus the ability of arbitrage operators to sell off their holdings of preferred stocks would act to
     prevent the emergence of any substantial premiums (for this reason) on capital structures con-
     taining preferred stocks. Nor are preferred stocks so far removed from bonds as to make it
     impossible for arbitrage operators to approximate closely the risk and leverage of a corporate
     preferred stock by incurriinga somewhat smaller debt on personal account.
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     rise as D/S increases, but at a decreasing rather than a constant rate.
     Beyond some high level of leverage, depending on the exact form of the
     interest function, the yield may even start to fall.21The relation between
     i and D/S could conceivably take the form indicated by the curve MD
                          -

                 Y-4.



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                     a:            e




                 cr.
                          W            _



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                                                    TO TOTAL MARiKET VALUE-
                                               OF D:EST
                                       RATlO                                        DjlVj
                                                              FIGURE 1


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                              cj           ~ ~       ~    ~    ~    ~~-
                               0
                      X                                                   i~


                              w~~~~~~~~~~~~~~~~~~~~~~
                                                              FIGURE 1
                          0
                                   0

                              I-~~~~~~~




     in Figure 2, although in practice the curvature would be much less pro-
     nounced. By contrast, with a constant rate of interest, the relation
     would be linear throughout as shown by line MM', Figure 2.
       The dovvnwardsloping part of the curve MD perhaps requires some
       21
          Since new lenders are unlikely to permit this much leverage (cf. note 17), this range of the
     curve is likely to be occupied by companies whose earnings prospects have fallen substantially
     since the time when their debts were issued.
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     comment since it may be hard to imagine why investors, other than
     those who like lotteries, would purchase stocks in this range. Remember,
     however, that the yield curve of Proposition II is a consequence of the
     more fundamental Proposition I. Should the demand by the risk-lovers
     prove insufficient to keep the market to the peculiar yield-curve MD,
     this demand would be reinforced by the action of arbitrage operators.
     The latter would find it profitable to own a pro-rata share of the firm as
     a whole by holding its stock and bonds, the lower yield of the shares
     being thus offset by the higher return on bonds.

     D. The Relation of Propositions I and II to Current Doctrines
        The propositions we have developed with respect to the valuation of
     firms and shares appear to be substantially at variance with current
     doctrines in the field of finance. The main differences between our view
     and the current view are summarized graphically in Figures 1 and 2.
     Our Proposition I [equation (4)] asserts that the average cost of capital,
        `j,/V, is a constant for all firms j in class k, independently of their fi-
     nancial structure. This implies that, if we were to take a samnpleof firms
     in a given class, and if for each firm we were to plot the ratio of expected
     returni to market value against some measure of leverage or financial
     structure, the points would tend to fall on a horizontal straight line
     with intercept PkJ, like the solid line mm' in Figure 1.22 From Proposition
     I we derived Proposition II [equation (8)] which, taking the simplest
     version with r constant, asserts that, for all firms in a class, the relation
     between the yield on common stock and financial structure, measured
     by DjlSj, will approximate a straight line with slope (pk7-r)      and inter-
     cept PkT. This relationship is shown as the solid line MM' in Figure 2, to
     which reference has been made earlier.23
        By contrast, the conventional view among finance specialists appears
     to start from the proposition that, other things equal, the earnings-
     price ratio (or its reciprocal, the times-earnings multiplier) of a firm's
     common stock will normally be only slightly affected by "moderate"
     amounts of debt in the firm's capital structure.24 Translated into our no
       -2 In Figure 1 the measure of leverage used is Di/lVy (the ratio of debt to market value)

     rather than Dj/Sj (the ratio of debt to equity), the concept used in the analytical develop-
     ment. The Dj/Vj measure is introduced at this point because it simplifies comparison and con-
     trast of our view with the traditional position.
       23The line MM' in Figure 2 has been drawn with a positive slope on the assumption that
     pk>r,   a condition which will normally obtain. Our Proposition II as given in equation (8)
     would continue to be valid, of course, even in the unlikely event that pk'<r, but the slope of
     MM' would be negative.
       24 See, e.g., Graham and Dodd [6, pp. 464-66]. Without doing violence to this position, we

     can bring out its implications more sharply by ignoring the qualification and treating the yield
     as a virtual constant over the relevant range. See in this connection the discussion in Durand
     [3, esp. pp. 225-37] of what he calls the "net income method" of valuationi.
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     tation, it asserts that for any firmj in the class k,
                       X+T -         rDj          #j'                                     Dj
     (13)                                     -             =    ik*,   a constant for-<              Lk
                             Si                   S,                                      S4

     or, equivalently,
     (14)                                                S,= =j"lik*

     Here ik* representsthe capitalization rate or earnings-priceratio on the
     common stock and Lk denotes some amount of leverage regardedas the
     maximum "reasonable"amount for firms of the class k. This assumed
     relationshipbetween yield and leverage is the horizontal solid line ML'
     of Figure 2. Beyond L', the yield will presumably rise sharply as the
     market discounts "excessive"trading on the equity. This possibility of a
     rising range for high leverages is indicated by the broken-line segment
     L'G in the figure.25
        If the value of shares were really given by (14) then the over-all mar-
     ket value of the firm must be:
                                             xir        -       rDj               X*T      (ik*   -     r) D,
     (16)        Vj1S?       + Dj                                       + Dj-i*     -+            .i*
                                                        ik*


     That is, for any given level of expected total returns after taxes (Y7j)
     and assuming, as seems natural, that ik*> r, the value of the firm must
     tend to rise with debt;26 whereas our Proposition I asserts that the value
     of the firm is completely independent of the capital structure. Another
     way of contrasting our position with the traditional one is in terms of the
     cost of capital. Solving (16) for Y;/ Vj yields:
     (17)                            Xil    Vj = ik* -                  (j1* - r) D,/17V.

     According to this equation, the average cost of capital is not indepen-
     dent of capital structure as we have argued, but should tend to fall with
     increasingleverage, at least within the relevant range of moderate debt
     ratios, as shown by the line ms in Figure 1. Or to put it in more familiar
     terms, debt-financing should be "cheaper" than equity-financing if not
     carriedtoo far.
       When we also allow for the possibility of a rising range of stock yields
     for large values of leverage, we obtain a U-shaped curve like nst in
       26To make it easier to see some of the implications of this hypothesis as well as to prepare
     the ground for later statistical testing, it will be helpful to assume that the notion of a critical
     limit on leverage beyond which yields rise rapidly, can be epitomized by a quadratic relation of
     the form:
     (15)                   *,Sii=         i* + 13(D,/S,) + a(Dj/Sj)2,                   a > 0.
        21For a typical discussion of how a promoter can, supposedly, increase the market value of a
     firm by recourse to debt issues, see W. J. Eiteman [4, esp. pp. 11-131.
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     Figure 1.27 That a yield-curve for stocks of the form ML'G in Figure 2
     implies a U-shaped cost-of-capital curve has, of course, been recognized
     by many writers. A natural further step has been to suggest that the
     capital structure correspondingto the trough of the U is an "optimal
     capital structure" towards which management ought to strive in the
     best interests of the stockholders.28Accordingto our model, by contrast,
     no such optimal structure exists-all structures being equivalent from
     the point of view of the cost of capital.
        Although the falling, or at least U-shaped, cost-of-capital function is
     in one form or another the dominant view in the literature, the ultimate
     rationale of that view is by no means clear. The crucial element in the
     position-that the expected earnings-priceratio of the stock is largely
     unaffected by leverage up to some conventional limit-is rarely even
     regardedas something which requires explanation. It is usually simply
     taken for granted or it is merely asserted that this is the way the market
     behaves.29To the extent that the constant earnings-price ratio has a
     rationale at all we suspect that it reflects in most cases the feeling that
     moderate amounts of debt in "sound" corporations do not really add
     very much to the "riskiness"of the stock. Since the extra risk is slight,
     it seems natural to suppose that firms will not have to pay noticeably
     higher yields in order to induce investors to hold the stock.30
        A more sophisticated line of argument has been advanced by David
     Durand [3, pp. 231-33]. He suggests that because insurance companies
     and certain other important institutional investors are restricted to debt
     securities, nonfinancial corporations are able to borrow from them at
     interest rates which are lower than would be required to compensate
       27 The U-shaped nature of the cost-of-capital curve can be exhibited explicitly if the yield

     curve for shares as a function of leverage can be approximated by equation (15) of footnote 25.
     From that equation, multiplying both sides by Si we obtain: Trj= X,T_-rD;=ik*Si+?fDi+aD2
     /S, or, adding and subtracting ik*Dkfrom the right-hand side and collecting terms,
     (18)                      xi' = ik*(Si + Di) + (, + r - ik*)Di + aDD2/S1.
     Dividing (18) by Vi gives an expression for the cost of capital:
            X,T/V,   = ik* -    (ik* -   r - O)Di/Vi + aD,2/SiVi   = ik* -   (ik* - r - O)DilVJ
     (19)
                        + a(Di/Vi)2/(1      -
                                           D3/Vj)
     which is clearly U-shaped since a is supposed to be positive.
        28 For a typical statement see S. M. Robbins [16, p. 307]. See also Graham and Dodd [6,

     pp. 468-74].
        29 See e.g., Graham and Dodd [6, p. 466].

        80A typical statement is the following by Guthmann and Dougall [7, p. 245]: "Theoretically
     it might be argued that the increased hazard from using bonds and preferred stocks would
     counterbalance this additional income and so prevent the common stock from being more
     attractive than when it had a lower return but fewer prior obligations. In practice, the extra
     earnings from 'trading on the equity' are often regarded by investors as more than sufficient to
     serve as a 'premium for risk' when the proportions of the several securities are judiciously
     mixed."
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     creditorsin a free market. Thus, while he would presumably agree with
     our conclusionsthat stockholderscould not gain from leverage in an un-
     constrainedmarket, he concludes that they can gain under present insti-
     tutional arrangements. This gain would arise by virtue of the "safety
     superpremium"which lenders are willing to pay corporations for the
     privilege of lending.3'
       The defective link in both the traditional and the Durand version of
     the argument lies in the confusion between investors' subjective risk
     preferencesand their objective market opportunities. Our Propositions
     I and II, as noted earlier, do not depend for their validity on any as-
     sumptionabout individual risk preferences.Nor do they involve any as-
     sertion as to what is an adequate compensation to investors for assum-
     ing a given degree of risk. They rely merely on the fact that a given
     commodity cannot consistently sell at more than one price in the mar-
     ket; or more precisely that the price of a commodity representing a
     "bundle" of two other commodities cannot be consistently different
     from the weighted average of the prices of the two components (the
     weights being equal to the proportion of the two commodities in the
     bundle).
        An analogy may he helpful at this point. The relations between l/pk,
     the price per dollar of an unlevered stream in class k; 1/r, the price per
     dollar of a sure stream, and 1/ij, the price per dollar of a levered stream
     j, in the kth class, are essentially the same as those between, respective-
     ly, the price of whole milk, the price of butter fat, and the price of milk
     which has been thinned out by skimming off some of the butter fat. Our
     Proposition I states that a firm cannot reduce the cost of capital-i.e.,
     increase the market value of the stream it generates-by securing part
     of its capital through the sale of bonds, even though debt money ap-
     pears to be cheaper. This assertion is equivalent to the proposition that,
     under perfect markets, a dairy farmer cannot in general earn more for
     the milk he produces by skimming some of the butter fat and selling
     it separately, even though butter fat per unit weight, sells for more
     than whole milk. The advantage from skimming the milk rather than
     selling whole milk would be purely illusory; for what would be gained
     from selling the high-pricedbutter fat would be lost in selling the low-
     priced residue of thinned milk. Similarly our Proposition II-that the
     price per dollar of a levered stream falls as leverage increases-is an ex-
        31 Like Durand, Morton [15] contends "that the actual market deviates from [Proposition
     I] by giving a changing over-all cost of money at different points of the [leverage] scale"' (p.
     443, note 2, inserts ours), but the basis for this contention is nowhere clearly stated. Judging
     by the great emphasis given to the lack of mobility of investment funds between stocks and
     bonds and to the psychological and institutional pressures toward debt portfolios (see pp. 444-
     51 and especially his discussion of the optimal capital structure on p. 453) he would seem to be
     taking a position very similar to that of Durand above.
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     act analogue of the statement that the price per gallon of thinned milk
     falls continuously as more butter fat is skimmed off.32
        It is clear that this last assertion is true as long as butter fat is worth
     more per unit weight than whole milk, and it holds even if, for many
     consumers, taking a little cream out of the milk (adding a little leverage
     to the stock) does not detract noticeably from the taste (does not add
     noticeably to the risk). Furthermore the argument remains valid even
     in the face of instituional limitations of the type envisaged by Durand.
     For suppose that a large fraction of the population habitually dines in
     restaurants which are required by law to serve only cream in lieu of
     milk (entrust their savings to institutional investors who can only buy
     bonds). To be sure the price of butter fat will then tend to be higher in
     relation to that of skimmed milk than in the absence such restrictions
     (the rate of interest will tend to be lower), and this will benefit people
     who eat at home and who like skim milk (who manage their own port-
     folio and are able and willing to take risk). But it will still be the case
     that a farmer cannot gain by skimming some of the butter fat and sell-
     ing it separately (firm cannot reduce the cost of capital by recourse to
     borrowed funds).3
        Our propositions can be regarded as the extension of the classical
     theory of markets to the particular case of the capital markets. Those
     who hold the current view-whether           they realize it or not-must as-
       32Let M denote the quantity of whole milk, B/Alf the proportion of butter fat in the whole
     milk, and let PM,PBand padenote, respectively, the price per unit weight of whole milk, butter
     fat and thinned milk from which a fraction a of the butter fat has been skimmed off. We then
     have the fundamental perfect market relation:
      (a)                    Pa(M-     aB) + PBoiB = pMM,          O < a < 1,
     stating that total receipts will be the same amount pMM, independently of the amount aLBof
     butter fat that may have been sold separately. Since pm corresponds to 1ip, PBto l/r, Pato
     1/i, M to Z and a-B to rD, (a) is equivalent to Proposition I, S+D=X/p. From (a) we derive:

     (b)                             Pa =    Mi   - aB -PB      M-B

     which gives the price of thinned milk as an explicit function of the proportion of buitter fat
     skimmed off; the function decreasing as long as PB>pM. From (a) also follows:

     (c)                       I/pa = I/PM+ (I/PM - I/PB)         Pa(M B)

     which is the exact analogue of Proposition II, as given by (8).
        33The reader who likes parables will find that the analogy with interrelated commodity
     markets can be pushed a good deal farther than we have done in the text. For instance, the
     effect of changes in the market rate of interest on the over-all cost of capital is the same as the
     effect of a change in the price of butter on the price of whole milk. Similarly, just as the rela-
     tion between the prices of skim milk and butter fat influences the kind of cows that will be
     reared, so the relation between i and r influences the kind of ventures that will be undertaken.
     If people like butter we shall have Guernseys; if they are willing to pay a high price for safety,
     this will encourage ventures which promise smaller but less uncertain streams per dollar of
     physical assets.
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      sume not merely that there are lags and frictions in the equilibrating
     process-a feeling we certainly share,34claiming for our propositions
     only that they describe the central tendency around which observations
     will scatter-but also that there are large and systematicimperfections
     in the market which permanently bias the outcome. This is an assump-
     tion that economists, at any rate, will instinctively eye with some skep-
     ticism.
        In any event, whether such prolonged, systematic departures from
     equilibriumreally exist or whether our propositions are better descrip-
     tions of long-run market behavior can be settled only by empirical re-
     search. Before going on to the theory of investment it may be helpful,
     therefore, to look at the evidence.
     E. Some Prelimtinary Evidentceon5 the Basic Propositions
        Unfortunately the evidence which has been assembled so far is amaz-
     ingly skimpy. Indeed, we have been able to locate only two recent stud-
     ies-and these of rather limited scope-which were designed to throw
     light on the issue. Pending the results of more comprehensivetests which
     we hope will soon be available, we shall review briefly such evidence as is
     provided by the two studies in question: (1) an analysis of the relation
     between security yields and financial structure for some 43 large electric
     utilities by F. B. Allen [1], and (2) a parallel (unpublished) study by
     Robert Smith [19], for 42 oil companies designed to test whether Allen's
     rather striking results would be found in an industry with very differ-
     ent characteristics.3YThe Allen study is based on average figures for the
     years 1947 and 1948, while the Smith study relates to the single year
     1953.
        TheEffectof Leverageon the Costof Capital. Accordingto the received
     view, as shown in equation (17) the average cost of capital, Yr/V,
     should decline linearly with leverage as measured by the ratio D/V, at
     least through most of the relevant range.36According to Proposition I,
     the average cost of capital within a given class k should tend to have
     the same value PkTindependently of the degree of leverage. A simple test
          Several specific examples of the failure of the arbitrage mechanism can be found in Graham
     anid Dodd [6, e.g.. pp. 646-481. The price discrepancy described on pp. 646-47 is particularly
     curious since it persists even today despite the fact that a whole generation of security analysts
     has been brought up on this book!
       3 We wish to express our thanks to both writers for making available to us some of their

     original worksheets. In addition to these recent studies there is a frequently cited (but appar-
     ently seldom read) study by the Federal Communications Commission in 1938 [22] which
     purports to show the existence of an optimal capital structure or range of structures (in the
     sense defined above) for public utilities in the 1930's. By current standards for statistical in-
     vestigations. however, this study cannot be regarded as having any real evidential value for
     the problem at hand.
       36 We shall simplify our notation in this section by dropping the subscriptj used to denote a

     particular firm wherever this will not lead to confusion.
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     of the merits of the two alternative hypotheses can thus be carried out
     by correlating        ,I/V with D/V.         If the traditional view is correct, the
     correlationshould be significantlynegative; if our view representsa bet-
     ter approximationto reality, then the correlation should not be signifi-
     cantly different from zero.
        Both studies provide information about the average value of D-the
     market value of bonds and preferred stock-and of V-the market
     value of all securities.37From these data we can readily compute the
     ratio D/V and this ratio (expressed as a percentage) is represented by
     the symbol d in the regression equations below. The measurement of
     the variable YT/V, however, presents serious difficulties. Strictly speak-
     ing, the numerator should measure the expected returns net of taxes,
     but this is a variable on which no direct information is available. As an
     approximation,we have followed both authors and used (1) the average
     value of actual net returns in 1947 and 1948 for Allen's utilities; and (2)
     actual net returns in 1953 for Smith's oil companies. Net return is de-
     fined in both cases as the sum of interest, preferreddividends and stock-
     holders'income net of corporateincome taxes. Although this approxima-
     tion to expected returns is undoubtedly very crude, there is no reason to
     believe that it will systematically bias the test in so far as the sign of the
     regressioncoefficientis concerned.The roughnessof the approximation,
     however, will tend to make for a wide scatter. Also contributing to the
     scatter is the crudeness of the industrial classification, since especially
     within the sample of oil companies, the assumption that all the firms be-
     long to the same class in our sense, is at best only approximately valid.
        Denoting by x our approximation to Yr/V (expressed, like d, as a
     percentage), the results of the tests are as follows:
                        Electric Utilities x = 5.3 + .006d                 r = .12
                                                          (? .008)
                        Oil Companies          x = 8.5 + .006d             r = .04.
                                           (+ .024)
      The data underlying these equations are also shown in scatter diagram
      form in Figures 3 and 4.
        The results of these tests are clearly favorable to our hypothesis.
         17 Note that for purposes of this test preferred stocks, since they represent an expectedfixed
      obligation, are properly classified with bonds even though the tax status of preferred dividends
      is different from that of interest payments and even though preferred dividends are really
      fixed only as to their maximum in any year. Some difficulty of classification does arise in the
      case of convertible preferred stocks (and convertible bonds) selling at a substantial premium,
      but fortunately very few such issues were involved for the companies included in the two
      studies. Smith included bank loans and certain other short-term obligations (at book values)
      in his data on oil company debts and this treatment is perhaps open to some question. How-
      ever, the amounts involved were relatively small and check computations showed that their
      elimination would lead to only minor differences in the test results.
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                  0




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                       3                                                                   e




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                                 0        t
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                            FIGURE 3. COST OF CAPITAL IN RELATION TO FINA.NCIAL STRUCTURE
                                          FOR 43 ELECTRICUTILITIES, 1947-48




       0 Loo


           Lg4              X
                                                             0~~~~~~~                          X8 .8 + 0.006       0


       ?     2-



       X                                            0                            r
                                                                     rD}~                      X-   8.    + 0.0




                  0                    10          20         30            40        50                 60             70        80


                  D:    FINKANCIAL          STRUCTURE-(MARKET VALt   OF SENIOR SECUrMES/(NAARKET              VALUEOF ALL SECURITIESII 100


                             FIGURE          4. COSTr OF CAPITAL IN RELATION TO FINANCIAL STRUCTURE
                                                         FOR 42 OIL COMPANIES,1953
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       Both correlation coefficientsare very close to zero and not statistically
       significant. Furthermore,the implications of the traditional view fail to
      be supported even with respect to the sign of the correlation.The data
      in short provide no evidence of any tendency for the cost of capital to
      fall as the debt ratio increases.38
         It should also be apparent from the scatter diagramsthat there is no
      hint of a curvilinear,U-shaped, relation of the kind which is widely be-
      lieved to hold between the cost of capital and leverage. This graphical
      impression was confirmed by statistical tests which showed that for
      both industries the curvature was not significantly different from zero,
      its sign actually being opposite to that hypothesized.39
         Note also that according to our model, the constant terms of the re-
      gression equations are measures of PkT, the capitalization rates for un-
      levered streams and hence the average cost of capital in the classes in
      question. The estimates of 8.5 per cent for the oil companies as against
      5.3 per cent for electric utilities appear to accord well with a priori ex-
      pectations, both in absolute value and relative spread.
        TheEffectof Leverageon CommonStock Yields.Accordingto our Prop-
      osition II-see equation 12 and Figure 2-the expected yield on com-
      mon stock, r1/S, in any given class, should tend to increase with lever-
      age as measuredby the ratio D/S. The relation should tend to be linear
      and with positive slope through most of the relevant range (as in the
      curve MM' of Figure 2), though it might tend to flatten out if we move
        38 It may be argued that a test of the kind used is biased
                                                                    against the traditional view. The
     fact that both sides of the regression equation are divided by the variable V which may be
     subject to random variation might tend to impart a positive bias to the correlation. As a check
     on the results presented in the text, we have, therefore, carried out a supplementary test
     based on equation (16). This equation shows that, if the traditional view is correct, the market
     value of a company should, foi given X, increase with debt through most of therelevant range;
     according to our model the market value should be uncorrelated with D, given Y. Because
     of wide variations in the size of the firms included in our samples, all variables must be divided
     by a suitable scale factor in order to avoid spurious results in carrying out a test of equation
     (16). The factor we have used is the book value of the firm denoted by A. The hypothesis
     tested thus takes the specific form:
                          V/A = a + b(XT/A) + c(D/A)
     and the numerator of the ratio XT/A is again approximated by actual net returns. The partial
     correlation between V/A and DIA should now be positive according to the traditional view
     and zero according to our model. Although division by A should, if anything, bias the results
     in favor of the traditional hypothesis, the partial correlation turns out to be only .03 for the oil
     companies and -.28 for the electric utilities. Neither of these coefficients is significantly differ-
     ent from zero and the larger one even has the wrong sign.
        39 The tests consisted of fitting to the data the equation (19) of footnote 27. As shown
     there, it follows from the U-shaped hypothesis that the coefficient a of the variable (D/V)2
     /(1 -DIV), denoted hereafter by d*, should be significant and positive. The following regres-
     sion equations and partials were obtained:
                       ElectricUtilities x = 5.0 + .017d- .003d*;rxd* .d =-         .15
                       Oil Companies      x = 8.0 + .05d - .03d*; rzd* .d = -.14.
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     far enough to the right (as in the curve MD'), to the extent that high
     leverage tends to drive up the cost of senior capital. According to the
     conventional view, the yield curve as a function of leverage should be a
     horizontal straight line (like MVL')through most of the relevant range;
     far enough to the right, the yield may tend to rise at an increasing rate.
     Here again, a straight-forward correlation-in this case between *#/S
     and D/S-can provide a test of the two positions. If our view is correct,
     the correlation should be significantly positive; if the traditional view is
     correct, the correlation should be negligible.
        Subject to the same qualifications noted above in connection with
     XT, we can approximate fr by actual stockholder net income.40 Letting
     z denote in each case the approximation to fr#/S (expressed as a per-
     centage) and letting h denote the ratio DIS (also in percentage terms)
     the following results are obtained:
                   Electric Utilities z   6.6 + .017/i      r    .53
                                                          (+ .004)
                       Oil Companies           z     8.9 + .051h           r = .53.
                                                         (? .012)
      These results are shown in scatter diagram form in Figures 5 and 6.
         Here again the implications of our analysis seem to be borne out by
      the data. Both correlation coefficients are positive and highly significant
      when account is taken of the substantial sample size. Furthermore, the
      estimates of the coefficients of the equations seem to accord reasonably
      well with our hypothesis. According to equation (12) the constant term
      should be the value Of pk' for the given class while the slope should be
      (per- r). From the test of Proposition I we have seen that for the oil
      companies the mean value of pkT could be estimated at around 8.7.
      Since the average yield of senior capital during the period covered was
      in the order of 3' per cent, we should expect a constant term of about
      8.7 per cent and a slope of just over 5 per cent. These values closely ap-
      proximate the regression estimates of 8.9 per cent and 5.1 per cent re-
      spectively. For the electric utilities, the yield of senior capital was also
      on the order of 332per cent durinn the test years, but since the estimate
      of the mean value of Pkr from the test of Proposition I was 5.6 per cent,
                                        data were for the single year 1953. Since the use of a single
        40 As indicated earlier, Snnm'Ith's
      year's profits as a measure of expected profits might be open to objection we collected profit
      data for 1952 for the same companies and based the computation of Fr/S on the average of the
      two years. The value of 7T/S was obtained from the formula:

      (net earnings in 1952 -s               + net earnings in '1953 2
                               assets in '522
                                                    * (average market value of common stock in '53).
      The asset  adjustment   was  introduced  as rough allowance for the effects of possible growth in
      the size of the firm. It might be added that the correlation computed with 7r/S based on net
      profits in 1953 alone was found to be only slightly smaller, namely .50.
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                 uo-



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                                       FIGURE   6. YIELD ON COMMON STOCK IN RELATION To LEVERAGE FOR
                                                          42 OLCRCUILICO
                                                                      TAIES, 1952-538
             g                 _




             co           S0-o




                               O                o f          0      7        O       1         6             7




                                   H: LvEtRAE         -[(MARKETVALUE
                                                                   Of SENIORSECURITIEqAMARKET
                                                                                           VALUE
                                                                                               OFCOkMON0STOCKS
                                                                                                             100

                                       FIGu-RE 6. YIELDON COMMON  STOCKIN RELATIONTO LEVERAGEFOR
                                                         42 OIL COH-PANIES,1952-53
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     the slope should be just above 2 per cent. The actual regressionestimate
     for the slope of 1.7 per cent is thus somewhat low, but still within one
     standard errorof its theoretical value. Because of this underestimate of
     the slope and because of the large mean value of leverage (h = 160 per
     cent) the regressionestimate of the constant term, 6.6 per cent, is some-
     what high, although not significantly different from the value of 5.6
     per cent obtained in the test of Proposition I.
       When we add a square term to the above equations to test for the
     presenceand direction of curvature we obtain the following estimates:
                    Electric Utilities z = 4.6 + .004h - .007h2
                         Oil Companies            z = 8.5 + .072h - .016z2.
     For both cases the curvature is negative. In fact, for the electric utili-
     ties, where the observations cover a wider range of leverage ratios, the
     negative coefficient of the square term is actually significant at the 5
     per cent level. Negative curvature, as we have seen, runs directly coun-
     ter to the traditional hypothesis, whereas it can be readily accounted
     for by our model in terms of rising cost of borrowed funds.4'
        In summary, the empirical evidence we have reviewed seems to be
     broadly consistent with our model and largely inconsistent with tradi-
     tional views. Needless to say much more extensive testing will be re-
     quired before we can firmly conclude that our theory describes market
     behavior. Caution is indicated especially with regard to our test of
     Proposition IT,partly because of possible statistical pitfalls42and partly
     because not all the factors that might have a systematic effect on stock
     yields have been considered.In particular, no attempt was made to test
     the possible influence of the dividend pay-out ratio whose role has
     tended to receive a great deal of attention in current researchand think-
     ing. There are two reasons for this omission. First, our main objective
     has been to assess the prima facie tenability of our model, and in this
     model, based as it is on rational behavior by investors, dividends per se
     play no role. Second, in a world in which the policy of dividend stabiliza-
     tion is widespread, there is no simple way of disentangling the true ef-
     fect of dividend payments on stock prices from their apparent effect,
        4
           That the yield of senior capital tended to rise for utilities as leverage increased is clearly
     shown in several of the scatter diagrams presented in the published version of Allen's study.
     This significant negative curvature between stock yields and leverage for utilities may be part-
     ly responsible for the fact, previously noted, that the constant in the linear regression is some-
     what higher and the slope somewhat lower than implied by equation (12). Note also in connec-
     tion with the estimate of Pk' that the introduction of the quadratic term reduces the constant
     considerably, pushing it in fact below the a priori expectation of 5.6, though the difference is
     again not statistically significant.
        42 In our test, e.g., the two variables z and h are both ratios with S appearing in the denomi-
     nator, which may tend to impart a positive bias to the correlation (cf. note 38). Attempts were
     made to develop alternative tests, but although various possibilities were explored, we have
     so far been unable to find satisfactory alternatives.
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     the latter reflecting only the role of dividends as a proxy measure of
     long-term earning anticipations.43 The difficulties just mentioned are
     further compounded by possible interrelations between dividend policy
     and leverage.44
          II. Imtplicationsof the Analysis for the Theoryof Investment
     A. Capital Structureand InvestmentPolicy
        On the basis of our propositions with respect to cost of capital and
     financial structure (and for the moment neglecting taxes), we can derive
     the following simple rule for optimal investment policy by the firm:
        Proposition III. If a firm in class k is acting in the best interest of the
     stockholders at the time of the decision, it will exploit an investment op-
     portunity if and only if the rate of return on the investment, say p*,
     is as large as or larger than pk. That is, the cut-off point for investment
     in thefirm will in all cases be Pk and will be completelyunaffectedby the
     type of securityused tofinance the investment.Equivalently, we may say
     that regardless of the financing used, the marginal cost of capital to a
     firm is equal to the average cost of capital, which is in turn equal to the
     capitalization rate for an unlevered stream in the class to which the
     firm belongs.45
        To establish this result we will consider the three major financing al-
     ternatives open to the firm--bonds, retained earnings, and common
     stock issues-and show that in each case an investment is worth under-
     taking if, and only if, p =pk.46
        Consider first the case of an investment financed by the sale of bonds.
     We know from Proposition I that the market value of the firm before the
     investment was undertaken was:47
     (20)                                      V0 = Xo/pk
       43We suggest that failure to appreciate this difficulty is responsible for many fallacious, or
     at least unwarranted, conclusions about the role of dividends.
       44 In the sample of electric utilities, there is a substantial negative correlation between yields

     and pay-out ratios, but also between pay-out ratios and leverage, suggesting that either the
     association of yields and leverage or of yields and pay-out ratios may be (at least partly)
     spurious. These difficulties however do not arise in the case of the oil industry sample. A pre-
     liminary analysis indicates that there is here no significant relation between leverage and
     pay-out ratios and also no significant correlation (either gross or partial) between yields and
     pay-out ratios.
        45The analysis developed in this paper is essentially a comparative-statics, not a dynamic
     analysis. This note of caution applies with special force to Proposition III. Such problems as
     those posed by expected changes in r and in pk over time will not be treated here. Although
     they are in principle amenable to analysis within the general framework we have laid out, such
     an undertaking is sufficiently complex to deserve separate treatment. Cf. note 17.
        " The extension of the proof to other types of financing, such as the sale of preferred stock or
     the issuance of stock rights is straightforward.
        47 Since no confusion is likely to arise, we have again, for simplicity, eliminated the subscripts
     identifying the firm in the eqtuations to follow. Except for Pk, the subscripts now refer to time
     periods.
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     and that the value of the common stock was:
     (21)                                 S0 - V0 -      Do.
     If now the firm borrowsI dollars to finance an investment yielding p* its
     market value will become:
                                        To + P* _                   *
     (22)                        VI=           -
                                           + p*Ip*
                                             Pk                     Pk

     and the value of its common stock will be:
                                                            P*I
     (23)              S1 = V1 - (Do + 1)            V1'+                Do - I
                                                               Pk

     or using equation 21,
                                                     p*I
     (24)               KSi                = So + --- -I.
                                                      Pk/

     Hence S1iS0 as p*<pk.48
        To illustrate, suppose the capitalization rate for uncertain streams in
     the kth class is 10 per cent and the rate of interest is 4 per cent. Then if
     a given company had an expected income of 1,000 and if it were financed
     entirely by common stock we know from Proposition I that the market
     value of its stock would be 10,000. Assume now that the managersof the
     firm discover an investment opportunity which will requirean outlay of
     100 and which is expected to yield 8 per cent. At first sight this might
     appear to be a profitableopportunity since the expected return is double
     the interest cost. If, however, the management borrows the necessary
     100 at 4 per cent, the total expected income of the company rises to
     1,008 aindthe market value of the firm to 10,080. But the firm now will
     have 100 of bonds in its capital structure so that, paradoxically, the
     market value of the stock must actually be reduced from 10,000 to
     9,980 as a consequence of this apparently profitable investment. Or, to
     put it another way, the gains from being able to tap cheap, borrowed
     funds are more than offset for the stockholdersby the market's discount-
     ing of the stock for the added leverage assumed.
       Considernext the case of retained earnings. Suppose that in the course
     of its operations the firm acquired I dollars of cash (without impairing
       48 In the case of bond-financing the rate of interest on bondsdoes not enter explicitlyinto
     the decision (assumingthe firmborrowsat the marketrate of interest). This is true, more-
     over, given the conditions outlined in Section I.C, even though interest rates may be
     an increasingfunctionof debt outstanding.To the extent that the firmborrowedat a rate
     otherthan the marketrate the two I's in equation(24) would no longerbe identicaland an
     additionalgain or loss, as the case might be, wouldaccrueto the shareholders.It might also
     be notedin passingthat permittingthe two I's in (24) to take on differentvaluesprovidesa
     simplemethodfor introducingunderwritingexpensesinto the analysis.
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     the earning power of its assets). If the cash is distributed as a dividend
     to the stockholders their wealth Wo, after the distribution will be:
                                                        XO
     (25)                        Wo = So + I =                - Do + I
                                                         Pk

     where Xo represents the expected return from the assets exclusive of the
     amount I in question. If however the funds are retained by the company
     and used to finance new assets whose expected rate of return is p*, then
     the stockholders' wealth would become:
                                            Xo + P*I               p*S
     (26)                   WI = S1 =                    -Do     = So +      -
                                                 Pk                         PIC

     Clearly Wi-Wo as p*<pk so that an investment financed by retained
     earnings raises the net worth of the owners if and only if p* > Pk.49
       Consider finally, the case of common-stock financing. Let Po denote
     the current market price per share of stock and assume, for simplicity,
     that this price reflects currently expected earnings only, that is, it does
     not reflect any future increase in earnings as a result of the investment
     under consideration.50 Then if N is the original number of shares, the
     price per share is:
     (27)                                     Po = SO/N
     and the number of new shares, M, needed to finance an investment of I
     dollars is given by:
     (28)                                      M
                                                      PO
     As a result of the investment the market value of the stock becomes:
                              XO+ P*I -           p*I                                p*I
                       Si -             Do = So +     -NPo                       +    -
                                   pk                          Pk                    Pk

     and the price per share:

     (29)                 p        S                1  [NPo +            -
                                  N+ M           N + M                    c
                                                                         PC
       49 The conclusion that pk is the cut-off point for investments financed from internal funds
     applies not only to undistributed net profits, but to depreciation allowances (and even to the
     funds represented by the current sale value of any asset or collection of assets). Since the
     owners can earn Pk by investing funds elsewhere in the class, partial or total liquidating distri-
     butions should be made whenever the firm cannot achieve a marginal internal rate of return
     equalto pk.
       60 If we assumed that the market price of the stock did reflect the expected higher future

     earnings (as would be the case if our original set of assumptions above were strictly followed)
     the analysis would differ slightly in detail, but not in essentials. The cut-off point for new in-
     vestment would still be pk, but where p*>pk the gain to the original owners would be larger
     than if the stock price were based on the pre-investment expectations only.
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     Since by equation (28), 1 = MPo, we can add MPOand subtract I from
     the quantity in bracket, obtaining:

                           Pi-P1    N+      [(N7 +L M)PO
                                                      )  +-I            Pkc1

     (30)                                     1       *Pf
                              =Po    + N-               P     I > Po if7

     and only if, p*>pk.
     Thus an investment financed by common stock is advantageous to the
     current stockholders if and only if its yield exceeds the capitalization
     rate Pk-
        Once again a numerical example may help to illustrate the result and
     make it clear why the relevant cut-off rate is Pk and not the currentyield
     on common stock, i. Suppose that Pk iS 10 per cent, r is 4 per cent, that
     the original expected income of our company is 1,000 and that manage-
     ment has the opportunity of investing 100 having an expected yield of
     12 per cent. If the original capital structure is 50 per cent debt and 50
     per cent equity, and 1,000 shares of stock are initially outstanding,
     then, by Proposition I, the market value of the common stock must be
     5,000 or 5 per share. Furthermore, since the interest bill is .04X5,000
     = 200, the yield on common stock is 800/5,000=16 per cent. It may
     then appear that financing the additional investment of 100 by issuing
     20 shares to outsiders at 5 per share would dilute the equity of the origi-
     nal owners since the 100 promises to yield 12 per cent whereas the com-
     mon stock is currently yielding 16 per cent. Actually, however, the
     income of the company would rise to 1,012; the value of the firm to
     10,120; and the value of the common stock to 5,120. Since there are
     now 1,020 shares, each would be worth 5.02 and the wealth of the origi-
     nal stockholders would thus have been increased. What has happened
     is that the dilution in expected earningsper share (from .80 to .796) has
     been more than offset, in its effect upon the market price of the shares,
     by the decrease in leverage.
        Our conclusion is, once again, at variance with conventional views,5'
     so much so as to be easily misinterpreted.Read hastily, Proposition III
     seems to imply that the capital structure of a firm is a matter of indiffer-
     ence; and that, consequently, one of the core problems of corporate
     finance-the problem of the optimal capital structure for a firm-is no
     problem at all. It may be helpful, therefore, to clear up such possible
     misundertandings.
       51 In the matter of investment policy under uncertainty there is no single position which
     represents "accepted" doctrine. For a sample of current formulationis, all very different from
     ours, see Joel Dean [2, esp. Ch. 3], M. Gordon and E. Shapiro [51,and Harry Roberts [171.
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     B. Proposition       III and Financial Planning by Firms
        Misinterpretation of the scope of Proposition III can be avoided by
     remembering that this Proposition tells us only that the type of instru-
     ment used to finance an investment is irrelevant to the question of
     whether or not the investment is worth while. This does not mean that
     the owners (or the managers) have no grounds whatever for preferring
     one financing plan to another; or that there are no other policy or tech-
     nical issues in finance at the level of the firm.
        That grounds for preferring one type of financial structure to another
     will still exist within the framework of our model can readily be seen
      for the case of common-stock financing. In general, except for some-
     thing like a widely publicized oil-strike, we would expect the market to
     place very heavy weight on current and recent past earnings in forming
     expectations as to future returns. Hence, if the owners of a firm dis-
     covered a major investment opportunity which they felt would yield
     much more than Pk, they might well prefer not to finance it via common
     stock at the then ruling price, because this price may fail to capitalize
     the new venture. A better course would be a pre-emptive issue of stock
     (and in this connection it should be remembered that stockholders are
     free to borrow and buy). Another possibility would be to finance the
     project initially with debt. Once the project had reflected itself in in-
     creased actual earnings, the debt could be retired either with an equity
     issue at much better prices or through retained earnings. Still another
     possibility along the same lines might be to combine the two steps by
     mneansof a convertible debenture or preferred stock, perhaps with a
     progressively declining conversion rate. Even such a double-stage
     financing plan may possibly be regarded as yielding too large a share
     to outsiders since the new stockholders are, in effect, being given an
     interest in any similar opportunities the firm may discover in the future.
     If there is a reasonable prospect that even larger opportunities may arise
     in the near future and if there is some danger that borrowing now would
     preclude more borrowing later, the owners might find their interests
     best protected by splitting off the current opportunity into a separate
     subsidiary with independent financing. Clearly the problems involved
     in making the crucial estimates and in planning the optimal financial
     strategy are by no means trivial, even though they should have no bear-
     ing on the basic decision to invest (as long as p*>pkP).52
        Another reason why the alternatives in financial plans may not be a
     matter of indifference arises from the fact that managers are concerned
        62 Nor can
                    we rule out the possibility that the existing owners, if unable to use a financing
     plan which protects their interest, may actually prefer to pass Up an otherwise profitable ven-
     ture rather than give outsiders an "excessive" share of the business. It is presumably in situa-
     tions of this kind that we could justifiably speak of a shortage of "equity capital," though this
     kind of market imperfection is likely to be of significance only for small or new firms.
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     with more than simply furtheringthe interest of the owners. Such other
     objectives of the management-which need not be necessarily in con-
     flict with those of the owners-are much more likely to be served by
     some types of financing arrangements than others. In many forms of
     borrowingagreements, for example, creditorsare able to stipulate terms
     which the current management may regard as infringingon its preroga-
     tives or restricting its freedom to maneuver. The creditors might even
     be able to insist on having a direct voice in the formation of policy.53 To
     the extent, therefore, that financial policies have these implications for
     the management of the firm, something like the utility approach de-
     scribed in the introductory section becomes relevant to financial (as
     opposedto investment) decision-making.It is, however, the utility func-
     tions of the managers per se and not of the owners that are now in-
     volved.14
       In summary, many of the specific considerationswhich bulk so large
     in traditional discussions of corporate finance can readily be superim-
     posed on our simple framework without forcing any drastic (and cer-
     tainly no systematic) alteration of the conclusion which is our principal
     concern, namely that for investment decisions, the marginal cost of
     capital is Pk.

     C. TUheEffect of the Corporate Income T'ax on Investment Decisions
       In Section I it was shown that when an unintegratedcorporateinconme
     tax is introduced, the original version of our Proposition I,
                                      X/V   =   Pk =   a constant
     must be rewritten as:
                   (X-rD)(l-T)+rD                      X7
     (11)                                                      Pk=     a constant.
                                  V                     V
     Throughout Section I we found it convenient to refer to XlV as the
     cost of capital. The appropriate measure of the cost of capital relevant
          Similar considerations are involved in the matter of dividend policy. Even though the
     stockholders may be indifferent as to payout policy as long as investment policy is optimal,
     the management need not be so. Retained earnings involve far fewer threats to control than
     any of the alternative sources of funds and, of course, involve no underwriting expense or risk.
     But against these advantages management must balance the fact that sharp changes in divi-
     dend rates, which heavy reliance on retained earnings might imply, may give the impression
     that a firm's finances are being poorly managed, with consequent threats to the control and
     professional standing of the management.
        54In principle, at least, this introduction of management's risk preferences with respect to
     financing methods would do much to reconcile the apparent conflict between Proposition Ill
     and such empirical findings as those of Modigliani and Zeman [141 on the close relation between
     interest rates and the ratio of new debt to new equity issues; or of John Lintner [121 on the
     considerable stability in target and actual dividend-payout ratios.
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     to investment decisions, however, is the ratio of the expected return
     beforetaxes to the market value, i.e., X/V. From (11) above we find:

     (31)                              -
                                             -
                                                 Tr(D/V)                -
                                                                             Pk_
                                                                                    [      TrD]
                         V                 -_1 -         7r_                 I             Pk'V


     which shows that the cost of capital now depends on the debt ratio,
     decreasing, as D/V rises, at the constant rate rr/(1 -T).5 Thus, with
     a corporate income tax under which interest is a deductible expense,
     gains can accrue to stockholders from having debt in the capital struc-
     ture, even when capital marKets are perfect. The gains however are
     small, as can be seen from (31), and as will be shown more explicitly
     below.
        From (31) we can develop the tax-adjusted counterpart of Proposi-
     tion III by interpreting the term DIV in that equation as the proportion
     of debt used in any additional financing of V dollars. For example, in
     the case where the financing is entirely by new common stock, D=0
     and the required rate of return pkS on a venture so financed becomes:

     (32)                                                PkS                Pk



     For the other extreme of pure debt financing D= V and the required
     rate of return, pkD, becomes:
                        Pk                           r         l            F       rl
                    =
     (33\    Pk D            PkT
                                   [             p             =                                  -
                                                                                                          r._
                               '                                                   PkC r
                                                                                                      _
                        1-                       Pk7               JL

     For investments financed out of retained earnings, the problem of defin-
     ing the required rate of return is more difficult since it involves a com-
     parison of the tax consequences to the individual stockholder of receiv-
     ing a dividend versus having a capital gain. Depending on the time of
     realization, a capital gain produced by retained earnings may be taxed
     either at ordinary income tax rates, 50 per cent of these rates, 25 per
        56 Equation (31) is amenable,in principle,to statistical tests similarto those describedin
     SectionI.E. Howeverwe have not madeany systematicattempt to carryout suchtests so far,
     becauseneitherthe Allen nor the Smith study providesthe requiredinformation.Actually,
     Smith'sdata includeda very crudeestimateof tax liability,and, usingthis estimate,we did in
     fact obtaina negativerelationbetweenX/V andDIV. However,the correlation(-.28) turned
     out to be significantonly at about the 10 per cent level. Whilethis resultis not conclusive,it
     shouldbe rememberedthat, accordingto ourtheory,the slopeof the regressionequationshould
     be in any event quite smiall.In fact, with a value of r in the orderof .5, and valuesof pkJand
     r in the orderof 8.5 and 3.5 per cent respectively(cf. SectionI.E) an increasein DIV from
     0 to 60 percent (whichis, approximately,the rangeof variationof this variablein the sample)
     shouldtend to reducethe averagecost of capitalonly fromabout 17 to about 15 per cent.
        56 This conclusiondoes not extend to preferredstocks even though they have been classed
     with debt issues previously.Since preferreddividendsexcept for a portionof those of public
     utilitiesarenot in generaldeductiblefromthe corporatetax, the cut-offpointfornew financing
     via preferredstock is exactlythe sameas that for commonstock.
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     cent, or zero, if held till death. The rate on any dividends received in the
     event of a distribution will also be a variable depending on the amount
     of other income received by the stockholder, and with the added com-
     plications introduced by the current dividend-credit provisions. If we
     assume that the managers proceed on the basis of reasonable estimates
     as to the average values of the relevant tax rates for the owners, then
     the required return for retained earnings PkR can be shown to be:
                                                1     1i- Td       l-Td
      (34)                      PkR _ Pkt                                    Pk


     where Td is the assumed rate of personal income tax on dividends and
     Ir is the assumed rate of tax on capital gains.
        A numerical illustration may perhaps be helpful in clarifying the rela-
     tionship betwveenthese required rates of return. If we take the following
     round numbers as representative order-of-magnitude values under
     present conditions: an after-tax capitalization rate Pkr of 10 per cent, a
     rate of interest on bonds of 4 per cent, a corporate tax rate of 50 per cent,
     a marginal personal income tax rate on dividends of 40 per cent (cor-
     responding to an income of about $25,000 on a joint return), and a capi-
     tal gains rate of 20 per cent (one-half the marginal rate on dividends),
     then the required rates of return would be: (1) 20 per cent for invest-
     ments financed entirely by issuance of new common shares; (2) 16 per
     cent for investments financed entirely by new debt; and (3) 15 per cent
     for investments financed wholly from internal funds.
        These results would seem to have considerable significance for current
     discussions of the effect of the corporate income tax on financial policy
     and on investment. Although we cannot explore the implications of the
     results in any detail here, we should at least like to call attention to the
     remarkably small difference between the "cost" of equity funds and
     debt funds. With the numerical values assumed, equity money turned
     out to be only 25 per cent more expensive than debt money, rather than
     something on the order of 5 times as expensive as is commonly supposed
     to be the case.57 The reason for the wide difference is that the traditional

       57 See e.g.. D. T. Smith [18]. It should also be pointed out that our tax system acts in other
     ways to reduce the gains from debt financing. Heavy reliance on debt in the capital structure,
     for example, commits a company to paying out a substantial proportion of its income in the
     form of interest payments taxable to the owners under the personal income tax. A debt-free
     company, bv contrast, can reinvest in the business all of its (smaller) net income and to this
     extent subject the owners only to the low capital gains rate (or possibly no tax at all by virtue
     of the loophole at death). Thus, we should expect a high degree of leverage to be of value to
     the owners, even in the case of closely held corporations, primarily in cases where their firm
     was not expected to have much need for additional funds to expand assets and earnings in the
     future. To the extent that opportunities for growth were available, as they presumably would
     be for most successful corporations, the interest of the stockholders would tend to be better
     served by a structure which permitted maximum use of retained earnings.
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     view starts from the position that debt funds are several times cheaper
     than equity funds even in the absence of taxes, with taxes serving sim-
     ply to magnify the cost ratio in proportion to the corporate rate. By
     contrast, in our model in which the repercussionsof debt financing on
     the value of shares are taken into account, the only differencein cost is
     that due to the tax effect, and its magnitude is simply the tax on the
     "grossedup" interest payment. Not only is this magnitude likely to be
     small but our analysis yields the further paradoxical implicationithat
     the stockholders'gain from, and hence incentive to use, debt financingis
     actually smaller the lower the rate of interest. In the extreme case
     where the firm could borrow for practically nothing, the advantage of
     debt financing would also be practically nothing.
                                  III. Conclusion
        With the development of Proposition III the main objectives we out-
     lined in our introductory discussion have been reached. We have in our
     Propositions I and II at least the foundations of a theory of the valua-
     tion of firms and shares in a world of uncertainty. We have shown,
     moreover, how this theory can lead to an operational definition of the
     cost of capital and how that concept can be used in turn as a basis for
     rational investment decision-making within the firm. Needless to say,
     however, much remains to be done before the cost of capital can be
     put away on the shelf among the solved problems. Our approach has
     been that of static, partial equilibriumanalysis. It has assumed among
     other things a state of atomistic competition in the capital markets and
     an ease of access to those markets which only a relatively small (though
     important) group of firms even come close to possessing. These and
     other drastic simplifications have been necessary in order to come to
     grips with the problem at all. Having served their purpose they can now
     be relaxed in the direction of greater realism and relevance, a task in
     which we hope others interested in this area will wish to share.

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